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 5

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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:13-CR-00227 GEB

12                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           [PROPOSED] FINDINGS AND ORDER

14   JOSE ENRIQUE VELARDES ZAZEUTA, et
     al.,
15
                                    Defendants.
16

17

18                                                STIPULATION

19          Plaintiff United States of America, by and through its counsel of record, and defendants Jose

20 Enrique Velardes Zazueta, Francisco Parra Arrellanez, Jovany Romo Arrellanes, and Efrain Padilla

21 Pena, by and through their counsel of record, hereby stipulate as follows:

22          1.       By previous order, this matter was set for status on May 30, 2014.

23          2.       By this stipulation, defendant now moves to continue the status conference until July 11,

24 2014 and to exclude time between May 30, 2014 and July 11, 2014 under Local Code T4. The United

25 States does not oppose this request.

26          3.       The parties agree and stipulate, and request that the Court find the following:

27                   a)     The United States has represented that the discovery associated with this case

28 includes investigative reports and wiretap applications in electronic form constituting approximately

      Stipulation and Proposed Order re                   1
      Excludable Time
30
                 Case 2:13-cr-00227-DAD Document 75 Filed 05/29/14 Page 2 of 3


 1 4000 pages of documents. The United States also represents that the discovery includes approximately

 2 20 CDs of audio recordings, including intercepted communications, and transcripts and line reports. All

 3 of this discovery has been produced directly to counsel.

 4                   b)     Further, counsel for the defendants have requested that the United States prepare

 5 plea agreements for the consideration of their clients. The United States anticipates providing those plea

 6 agreements within the next few weeks.

 7                   c)     Counsel for defendants desire additional time to consult with their client, to

 8 conduct investigation and research related to the charges, to review and copy discovery for this matter,

 9 and to discuss potential resolutions with their clients.

10                   d)     Counsel for defendants believe that failure to grant the above-requested

11 continuance would deny them the reasonable time necessary for effective preparation, taking into

12 account the exercise of due diligence.

13                   e)     The United States does not object to the continuance.

14                   f)     Based on the above-stated findings, the ends of justice served by continuing the

15 case as requested outweigh the interest of the public and the defendants in a trial within the original date

16 prescribed by the Speedy Trial Act.

17                   g)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

18 et seq., within which trial must commence, the time period of May 30, 2014 to July 11, 2014, inclusive,

19 is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results

20 from a continuance granted by the Court at defendant’s request on the basis of the Court's finding that

21 the ends of justice served by taking such action outweigh the best interest of the public and the

22 defendant in a speedy trial.

23          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

24 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

25 must commence.

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      Stipulation and Proposed Order re                    2
      Excludable Time
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             Case 2:13-cr-00227-DAD Document 75 Filed 05/29/14 Page 3 of 3


 1         IT IS SO STIPULATED.

 2 Dated: May 28, 2014                           BENJAMIN B. WAGNER
                                                 United States Attorney
 3
                                                 /s/ Todd A. Pickles
 4                                               TODD A. PICKLES
                                                 Assistant United States Attorney
 5

 6 Dated: May 28, 2014                           /s/ Todd A. Pickles for
                                                 VICTOR SHERMAN, ESQ.
 7
                                                 Counsel for Defendant Jose Enrique
 8                                               Velardes Zazueta

 9
     Dated: May 28, 2014                         /s/ Todd A. Pickles for
10                                               TIMOTHY WARRINER, ESQ.

11                                               Counsel for Defendant Francisco Parra
                                                 Arrellanez
12

13 Dated: May 28, 2014                           /s/ Todd A. Pickles for
                                                 DINA SANTOS, ESQ.
14
                                                 Counsel for Defendant Jovany Romo
15                                               Arrellanes

16
     Dated: May 28, 2014                         /s/ Todd A. Pickles for
17                                               RICHARD DUDEK, ESQ.

18                                               Counsel for Defendant Efrain Padilla
                                                 Pena
19

20

21                                        ORDER

22         IT IS SO FOUND AND ORDERED.

23 Dated: May 28, 2014

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      Stipulation and Proposed Order re      3
      Excludable Time
30
